
Creen, J.
delivered the opinion of the court.
This is an action brought for monies laid out and expended for the use of the defendant. The bill of exceptions shows, that in the summer of 1844, the defendant, Dibrell, employed one Bradley to take horses to the southern market for him; that Dibrell was to pay all the expenses, and Bradley was to share half the profits. While on this trip, Bradley contracted a debt for expenses, and executed his own note therefor. When he returned, in the fall of 1844, his agency for Dibrell ceased. In the fall of 1845, the plaintiff, Young, employed Bradley to go to the south with horses for him; and oh his return he paid with Young’s money the debt he had contracted, while he was Dib-rell’s agent. Whereupon Young sued Dibrell, to recover the amount so paid.
The court charged the jury, “that if after the partnership between Bradley &amp; Dibrell ceased, Bradley paid out Young’s money in discharge of his debt, without any authority from Dibrell, or any agency under him, Young could look alone to Bradley, his own agent; that he could not make Dibrell his debtor without his consent.” The jury found for the defendant, and the court refused to grant a new trial.
There is no error in this record. There is no privity between *271Young and Dibrell, for which an implied contract to pay him for the money Bradley expended can arise. Dibrell was liable to Bradley for the expenses of his horses, and could not” also be made the debtor of any person, whose money Bradley might employ in the payment of debts contracted for expenses.
Affirm the judgment.
